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                                               May 31, 2024

    VIA ECF
    Honorable Michael A. Hammer
    United States District Court
    Martin Luther King Building & U.S. Courthouse
    50 Walnut Street
    Newark, NJ 07101

                             Re: Nina Agdal v. Dillon Danis, 23-CV-16873 (MCA)(MAH)

    Dear Judge Hammer:

             We represent Plaintiff Nina Agdal in the above-referenced matter. We submit this letter

    in accordance with Paragraph 3 of this Court’s Amended Pretrial Scheduling Order [D.E. 48], to

    raise several discovery disputes between Plaintiff and Defendant Dillon Danis. The first portion

    of this letter addresses Plaintiff’s request that this Court issue an Order to Show Cause against

    Defendant, consistent with this Court’s April 25, 2024 Order, given Defendant’s violation of the

    Order and his ongoing failure to fulfill his discovery obligations. The second portion of this letter

    addresses Plaintiff’s request that this Court overrule Defendant’s objections and compel him to

    respond to specific Requests and Interrogatories, or in several instances to cure his evasive and

    inadequate Interrogatory Answers. We have conferred with Defendant’s counsel about these

    disputes several times, and, although Defense counsel has indicated a willingness to try and
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  obtain the requested documents and information from Defendant, he has been unsuccessful in

  doing so and has declined to withdraw any of Defendant’s underlying objections as he continues

  to make those attempts.

         I. This Court should issue an Order to Show Cause why sanctions should not be
            imposed against Defendant given his violation of the Court’s April 25, 2024
            Order and his ongoing failure to fulfill his discovery obligations.

         Plaintiff served Defendant with her First Requests for Production of Documents more

  than six months ago, on November 16, 2023. Defendant served written responses and objections

  to those Requests on February 9, 2024. Defendant did not object to the following Requests, but

  instead agreed to conduct a reasonable search and produce any non-privileged documents

  responsive to the Requests:

            RFP No. 6       All communications You received asking You to stop
                            making social media posts about Plaintiff.

            RFP No. 13      All communications between You and Andrew Tate that
                            relate to Plaintiff, including but not limited to messages to
                            and from the X username @cobratate.

            RFP No. 14      All communications between You and Adin Ross that relate
                            to Plaintiff, including but not limited to the live stream on
                            September 3, 2023 referred to in Paragraph 51 of the
                            Amended Complaint.

            RFP No. 15      Documents and communications sufficient to identify any
                            ad revenue You earned or received from any social media
                            platform between August 1, 2023 and October 14, 2023, the
                            date of the Fight.

            RFP No. 16      All communications between You and Misfits Boxing that
                            relate to Your social media posts about Plaintiff.
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             RFP No. 17      All notifications You received from any social media
                             platforms between August 1, 2023 and October 14, 2023,
                             the date of the Fight, imposing any restrictions on Your
                             account as a result of Your posts about Plaintiff.

             RFP No. 18      Any documents and communications relating to
                             notifications You received from any social media platforms
                             between August 1, 2023 and October 14, 2023, the date of
                             the Fight, imposing any restrictions on Your account as a
                             result of Your posts about Plaintiff.

         Given Defendant’s prolonged failure to produce any materials whatsoever, on April 23,

  2024, Plaintiff filed a letter with this Court and requested that this Court impose a deadline for

  Defendant’s compliance. [D.E. 53]. On April 25, 2024, this Court entered the following Order:

                 The Court has reviewed Plaintiff's April 23, 2024 letter [D.E. 53]
                 concerning Defendant’s failure to produce outstanding discovery.
                 The Court notes that Plaintiff’s initial requests were served on
                 Defendant on November 16, 2023, and the second requests were
                 served on March 13, 2024. Accordingly, Defendant must produce
                 ALL outstanding discovery responses by May 10, 2024. The Court
                 will not further extend this deadline, and the Court respectfully
                 asks that Defense counsel specifically instruct Defendant that
                 failure to comply with the foregoing may result in the issuance of
                 an Order to Show Cause as to why sanctions should not be
                 imposed pursuant to Federal Rules of Civil Procedure 16(f) and 37.
                 In view of the delay in production of Defendant’s discovery, the
                 deadline to raise disputes concerning written discovery is extended
                 until June 14, 2024. The next telephone conference shall proceed
                 as scheduled on May 31, 2024 at 12:00 p.m. So Ordered by
                 Magistrate Judge Michael A. Hammer on 4/25/2024.

  D.E. 54.

         Defendant failed to comply with the Order, and he still has not fulfilled his production

  obligations as of the filing of this letter. Significantly, Defendant has yet to produce any emails,
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  text messages, or messages sent or received on X (where the offending social media posts were

  made) or WhatsApp (which we understand is his preferred method of communication). Although

  Defendant made a small production on May 12, 2024 – a production that was, itself, after the

  Court-ordered deadline – it was limited to communications he had sent or received on Instagram

  or Facebook. Moreover, none of the documents that were produced on May 12 were even

  responsive to any of the above Requests.

         Defendant’s discovery violations and his disregard for the Court’s authority continue to

  delay this case and prejudice Plaintiff’s ability to prosecute her claims. At this juncture, Plaintiff

  requests that this Court require Defendant to appear in person pursuant to an Order to Show

  Cause why sanctions should not be imposed against him. Plaintiff submits this Court should

  treat Defendant’s violations as contempt of Court and impose a daily fine of $1,000 per day until

  Defendant purges his non-compliance. See Andrews v. Holloway, 256 F.R.D. 136, 140–41

  (D.N.J. 2009) (“Civil contempt is a means by which the Court may, if necessary, ensure that its

  discovery orders are obeyed. It vindicates the District Court’s authority over a recalcitrant

  litigant.”) (internal citations and quotation marks omitted); Int’l Plastics & Equip. Corp. v.

  Taylor’s Indus. Servs., LLC, 2011 WL 1399081, *9 (W.D. Pa. Apr. 12, 2011) (explaining that

  “[f]ailure to respond to a court order directing [discovery responses] is an act sufficiently

  egregious to result in the imposition of a daily fine,” and proceeding to impose a fine of $1,000

  per day “until complete and substantive responses to the discovery” were provided).
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         This Court also should issue a warning to Defendant that continued non-compliance may

  result in more severe sanctions, including the striking of his affirmative defenses and/or the entry

  of a default judgment in Plaintiff’s favor. See Fed. R. Civ. P. 37(b)(2); Wachtel v. Health Net,

  Inc., 239 F.R.D. 81, 102 (D.N.J. 2006) (finding Defendants’ “flagrant disregard of the adversary

  and the Magistrate Judge’s Orders warrant strong sanctions” under Federal Rule 37).

         Pursuant to Federal Rules 16(f)(2) and 37(b)(2)(C), Plaintiff further requests that this

  Court order Defendant to pay the reasonable attorney’s fees and costs she has incurred as a result

  of her efforts to obtain Defendant’s overdue discovery, as Defendant’s non-compliance is not

  substantially justified and there are no circumstances that would make such an award unjust. See

  Aktas v. Mint Enters. LLC, 2022 WL 11705208, *5 (D.N.J. Oct. 20, 2022) (awarding attorney’s

  fees and costs against Defendants as a result of their failure to abide by discovery order).

         II. This Court should overrule Defendant’s objections and compel Defendant to
             produce documents and information responsive to Plaintiff’s Requests and
             Interrogatories.

         In addition to Defendant’s failure to fulfill his basic discovery obligations and comply

  with the April 25 Order (as set forth above), Defendant objects to the following Requests and

  Interrogatories (or, in the case of several Interrogatories, Defendant has provided inadequate and

  evasive answers). This Court should overrule Defendant’s objections and compel him to provide

  full and complete responses to the discovery.
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          A.       Plaintiff’s Requests for Production of Documents

               RFP. No. 1     All documents and communications that relate to Your social
                              media posts about Plaintiff.

               RFP No. 21     All communications to or from You that relate to Plaintiff.


          Defendant objects to Request Nos. 1 and 21 as vague and ambiguous.1 These objections

  should be overruled. Starting in early August 2023, Defendant carried out a relentless campaign

  of cyber harassment and bullying against Plaintiff, during the course of which he made hundreds

  of crude and offensive posts about her on social media – including the posts underlying

  Plaintiff’s causes of action. Defendant claims the posts at issue were made for the purpose of

  promoting his boxing match with Plaintiff’s fiancé. Among other affirmative defenses,

  Defendant argues Plaintiff cannot establish that his posts were made with actual malice or that he

  recklessly disregarded whether Plaintiff consented to the disclosure of the explicit photograph of

  her that he posted.

          Given Defendant’s knowledge and mindset in posting about Plaintiff are directly at issue

  in the case, the targeted discovery is relevant to the Parties’ claims and defenses. More to the

  point of the objections, however, the above context also demonstrates why the Requests are

  neither vague nor ambiguous: Prior to August 2023, Defendant had never posted about Plaintiff

  (and likely, did not even know who she was). Considering the temporal scope of the Requests,

  which only cover the few-month period of August 1, 2023 to October 14, 2023 (the date of the

   1
       During the Parties’ conferrals, Defendant’s counsel has expressed a willingness to revisit these
  particular objections once he receives and is able to search his client’s data – which as explained above,
  he has not been unable to do. Until then, he is maintaining his objections, necessitating this letter.
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  fight), any Defendant’s communications discussing Plaintiff at all are going to “relate to

  Plaintiff” or to Defendant’s “social media posts about Plaintiff” within the meaning of the

  Requests, as there is no other context in which her name would have arisen. Moreover, Plaintiff

  has proposed search terms for identifying the responsive documents and shared them with

  Defense counsel to facilitate any search of Defendant’s communications.

          Additionally, the need for this particular discovery is underscored by the unreliability of

  Defendant’s sworn Interrogatory Answers (even putting aside Defendant’s refusal to take this

  judicial process seriously and his continued mocking of the litigation). For example, among the

  Interrogatories, Defendant was asked who else other than he participated in contributing to his

  posts about Plaintiff, and he answered there was nobody else. Even in the very limited subset of

  materials that Defendant has produced, that representation has been proven false, as several

  message strings reveal he was collaborating with other individuals to create his content.

          B.       Plaintiff’s Interrogatories

               Interrogatory No. 1       Identify all social media accounts on which You have
               (First Set)               posted content relating to Plaintiff or caused such
                                         content to be posted.


          Defendant answered Interrogatory No. 1 by stating: “Twitter, Instagram and Snapchat.”

  Plaintiff submits that response does not answer the Interrogatory because Defendant did not

  identify the specific accounts from which he posted – only the platforms. The significance of

  this failure is illustrated by the fact that, in the course of this case, Plaintiff independently

  developed suspicion that Defendant was operating another X account that masked his affiliation
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  with the account, @mmaomally23. When asked about that account during the conferral process,

  Defendant’s counsel confirmed that it belongs to Defendant. Plaintiff thereafter learned that

  @mmaomally23 had also posted the nonconsensual explicit photograph at issue in this case in

  August 2023, giving rise to another violation of the 2022 Violence Against Women Act

  Reauthorization (which will form the basis of a forthcoming proposed amendment to Plaintiff’s

  Complaint). Plaintiff is entitled to know all of the accounts from which Defendant has posted

  about her to fully understand the scope of his conduct, and he should be compelled to provide

  that information.

            Interrogatory No. 6(a)    Identify when and how You came into possession of
            (First Set)               each of the following: (a) The Explicit Photograph; . .
                                      ..


         Defendant answered Interrogatory No. 6(a) by incorporating his answer to another

  Interrogatory, in which he disclosed that he had generally obtained content about Plaintiff

  through “Google searches on the Internet and Twitter searches/posts.” Plaintiff submits that

  answer is inadequate and evasive. Defendant has indicated that one of his defenses is that he was

  merely posting photographs already in the public domain, which cannot give rise to a violation of

  the Violence Against Women Act. Although Plaintiff refutes the viability of that defense, given

  Defendant’s argument, she is entitled to know exactly where he found the photograph, and

  Defendant should be compelled to provide that information with specificity.
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            Interrogatory No. 3        Explain how you came into possession of the video
            (Second Set)               recording of Plaintiff posted from your X account on
                                       September 23, 2023, which is identified in Paragraph
                                       3 of Appendix A, and why you deleted that post in
                                       particular.


         Defendant objects to Interrogatory No. 3 as irrelevant to the claims and defenses in this

  case. Plaintiff disagrees. Plaintiff alleges in the Amended Complaint that some of the content

  about Plaintiff that Defendant posted in the course of his harassment campaign was not publicly

  available, but rather was obtained through the hacking of her devices. See Am. Compl. at ¶¶ 24–

  26. In support of these allegations, Plaintiff filed the Declaration of Quincy Bahler, a partner at

  an intelligence and security consulting firm, Sourced Intelligence. See D.E. 1-4. The video in the

  referenced post is one example of the unauthorized access to Plaintiff’s devices, as it was content

  hacked from her Snapchat archive. The information requested in this Interrogatory is well within

  the broad scope of discovery for a variety of reasons, including that it targets information needed

  to better understand the scope of Defendant’s conduct. Pacitti v. Macy’s, 193 F.3d 766, 777 (3d

  Cir. 1999) (“It is well recognized that the federal rules allow broad and liberal discovery.”).

  Moreover, depending on the circumstances, Defendant’s posting of hacked content would

  undermine his defense that he was only posting material he found through Internet searches (and,

  relatedly, his defense that his conduct does not evince reckless disregard for whether Plaintiff

  “consented” to his posts). Wyeth v. Abbott Labs., 2011 U.S. Dist. LEXIS 63409, at *10 (D.N.J.

  June 13, 2011) (“Pursuant to Rule 26(b)(1) . . . ‘[p]arties may obtain discovery regarding any
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 nonprivileged matter that is relevant to any party’s claim or defense.’”) (quoting Fed. R. Civ. P.

 26(b)(1)).



        Thank You for Your Honor’s consideration of these requests.

                                                              Respectfully submitted,

                                                              /s/ Joseph B. Shumofsky

                                                              Joseph B. Shumofsky

 cc:    Counsel for Defendant Dillon Danis (via ECF and Email)
